Case: 4:19-cr-00077-ERW-JMB Doc. #: 6 Filed: 01/31/19 Page: 1 of 7 PageID #: 19
                                                                                         FILEP
                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI                              JANS 1 2019
                                   EASTERN DIVISION                                 U S DISTRICT COURT
                                                                                   EASTERN DISTRICT OF MO
                                                                                         ST.LOUIS
UNITED STATES OF AMERICA,                           )
                                                    )
                      Plaintiff,                    )
                                                    )       No.
vs.                                                 )
                                                    )
SEANBOURE,                                          )
                                                    )
                                                              4:19CR00077 ERW/JMB
                      Defendant.                    )

                                        INDICTMENT

                                           COUNT ONE

       The Grand Jury charges that:

       On or about September 5, 2018, in the County of St. Louis within the Eastern District of

Missouri,

                                        SEANBOURE,

the Defendant herein, did obstruct, delay, or affect commerce or the movement of any article or

commodity in commerce or attempt to do so by robbery of the Boost Mobile wireless

telecommunication store, located at 10204 Page Avenue, Overland, Missouri 63132, a

commercial establishment engaged in interstate or foreign commerce and in the business of

buying and selling articles and commodities that have been previously transported in interstate or

foreign commerce.

       In violation of Title 18, United States Code, Sections 195l(a), and punishable under Title

18, Untied States Code, Section 1951(a).

                                           COUNT TWO

      · The Grand Jury further charges that:

       On or about September 5, 2018, in the County of St. Louis within the Eastern District of

Missouri,
Case: 4:19-cr-00077-ERW-JMB Doc. #: 6 Filed: 01/31/19 Page: 2 of 7 PageID #: 20


                                       SEANBOURE,

 the Defendant herein, knowingly possessed and brandished a firearm, in furtherance of a crime

 of violence for which they may be prosecuted in a court of the United States, that is, attempt to

 obstruct, delay, or affect commerce by robbery as charged in Count One herein.

        In violation of Title 18, United States Code, Sections 924(c)(l)(A), and punishable under

 Title 18, United States Code, Section 924(c)(l)(A)(ii).



                                       COUNT THREE


        The Grand Jury charges that:

        On or about September 5, 2018, in the County of St. Louis, within the Eastern District of

 Missouri,

                                          SEANBOURE,

 the Defendant herein, did knowingly and intentionally possess a stolen firearm which previously

 traveled in interstate or foreign commerce during or prior to being in the Defendant's possession.

        In violation of Title 18, United States Code, Section 922G).


                                       COUNT FOUR

                The Grand Jury charges that:

        On or about October 2, 2018, in the County of St. Louis within the Eastern District of

 Missouri,

                                          SEANBOURE,

 the Defendant herein, did obstruct, delay, or affect commerce or the movement of any article or

 commodity in commerce or attempt to do so by robbery of the Cricket Wireless, located at 1530

, South Kirkwood Road, Sunset Hills, Missouri 63127, a commercial establishment engaged in

 interstate or foreign commerce and in the business of buying and selling articles and
Case: 4:19-cr-00077-ERW-JMB Doc. #: 6 Filed: 01/31/19 Page: 3 of 7 PageID #: 21
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 commodities that have been previously transported in interstate or foreign commerce.

            In violation of Title 18, United States Code, Sections 195l(a), and punishable under Title

 18, Untied States Code, Section 1951(a).


                                           COUNT FIVE

 The Grand Jury further charges that:



     On or about October 2, 2018, in the County of St. Louis within the Eastern District of Missouri,

                                             SEANBOURE,

 the Defendant herein, knowingly possessed and brandished a firearm, in furtherance of a crime

 of violence for which they may be prosecuted in a court of the United States, that is, attempt to

 obstruct, delay, or affect commerce by robbery as charged in Count Four herein.

            In violation of Title 18, United States Code, Sections 924(c)(l)(A), and punishable under

 Title 18, United States Code, Section 924(c)(l)(C).


                                                COUNT SIX
            The Grand Jury charges that:

            On or about November 9, 2018, in the County of St. Louis within the Eastern District of

 Missouri,

                                             SEANBOURE,

 the Defendant herein, did obstruct, delay, or affect commerce or the movement of any article or

 commodity in commerce or attempt to do so by robbery of the Boost Mobile, located at 12110

 St. Charles Rock Road, Bridgeton, Missouri 63044, a commercial establishment engaged in

 interstate or foreign commerce and in the business of buying and selling articles and

 commodities that have been previously transported in interstate or foreign commerce.

            In violation of Title 18, United States Code, Sections 1951(a), and punishable under Title

     18, Untied States Code, Section 195l(a).
Case: 4:19-cr-00077-ERW-JMB Doc. #: 6 Filed: 01/31/19 Page: 4 of 7 PageID #: 22




                                         COUNT SEVEN

        The Grand Jury further charges that:

        On or about November 9, 2018, in the County of St. Louis within the Eastern District of

Missouri,

                                       SEANBOURE,

the Defendant herein, knowingly possessed and brandished a firearm, in furtherance of a crime

 of violence for which they may be prosecuted in a court of the United States, that is, attempt to

 obstruct, delay, or affect commerce by robbery as charged in Count Six herein.

        In violation of Title 18, United States Code, Sections 924(c)(l)(A), and punishable under

Title 18, United States Code, Section 924(c)(l)(C).

                                       COUNT EIGHT

        The Grand Jury charges that:

        On or about November 12, 2018, in the City of St. Louis within the Eastern District of

Missouri,

                                          SEANBOURE,

the Defendant herein, did obstruct, delay, or affect commerce or the movement of any article or

commodity in commerce or attempt to do so by robbery of the Lee's Famous Reeipe Chicken,

located at 6310 West Florissant Avenue, St. Louis, Missouri 63136, a commercial establishment

engaged in interstate or foreign commerce and in the business of buying and selling articles and

commodities that have been previously transported in interstate or foreign commerce.

        In yiolation of Title 18, United States Code, Sections 1951(a), and punishable under Title

 18, Untied States Code, Section 195l(a).



                                            COUNT NINE
Case: 4:19-cr-00077-ERW-JMB Doc. #: 6 Filed: 01/31/19 Page: 5 of 7 PageID #: 23


           The Grand Jury further charges that:

           On or about November 12, 2018, in the City of St. Louis within the Eastern District of

    Missouri,

                                          SEANBOURE,

    the Defendant herein, knowingly possessed and brandished a firearm, in furtherance of a crime

    of violence for which they may be prosecuted in a court of the United States, that is, attempt to

1   obstruct, delay, or affect commerce by robbery as charged in Count Eight herein.

           In violation of Title 18, United States Code, Sections 924(c)(l)(A), and punishable under

. Title 18, United States Code, Section 924(c)(l)(C).

                                               COUNT TEN

           The Grand Jury charges that:

           On or about November 16, 2018, in the City of St. Louis within the Eastern District of

    Missouri,

                                             SEANBOURE,

    the Defendant herein, did obstruct, delay, or affect commerce or the movement of any article_or

    commodity in commerce or attempt to do so by robbery of the Metro by T-Mobile, located at

    4517 South Kingshighway Boulevard, St. Louis, Missouri 63109, a commercial establishment

    engaged in interstate or foreign commerce and in the business of buying and selling articles and

    commodities that have been previously transported in interstate or foreign commerce.

           In violation of Title 18, United States Code, Sections 1951(a), and punishable under Title

    18, Untied States Code, Section 195l(a).



                                           COUNT ELEVEN

           The Grand Jury further charges that:

           On or about November 16, 2018, in the City of St. Louis within the Eastern District of
     Case: 4:19-cr-00077-ERW-JMB Doc. #: 6 Filed: 01/31/19 Page: 6 of 7 PageID #: 24


     Missouri,

                                              SEANBOURE,

     the Defendant herein, knowingly possessed and brandished a firearm, in furtherance of a crime

     of violence for which they may be prosecuted in a court of the United States, that is, attempt to

     obstruct, delay, or affect commerce by robbery as charged in Count Ten herein.

               In violation of Title 18, United States Code, Sections 924(c)(l)(A), and punishable under

     Title 18, United States Code, Section 924(c)(l)(C).

                                              COUNT TWELVE

               The Grand Jury charges that:

               On or about November 23, 2018, in the County of St. Louis within the Eastern District of

     Missouri,
           /




                                                SEANBOURE,

     the Defendant herein, did obstruct, delay, or affect commerce or the movement of any article or ·

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     commodity in commerce or attempt to do so by robbery of the Cricket Wireless, located at 8021

     West Florissant Avenue, Jennings, Missouri 6313 6, a commercial establishment engaged in

     interstate or foreign commerce and in the business of buying and selling articles and

     commodities that have been previously transported in interstate or foreign commerce.

               In violation of Title 18, l)nited States Code, Sections 1951(a), and punishable under Title

      18, Untied States Code, Section 195l(a).



                                              COUNT TIDRTEEN

               The Grand Jury further charges that:

               On or about November 23, 2018, in the County of St. Louis within the Eastern District of

     Missouri,

                                              SEANBOURE,
Case:
    • 4:19-cr-00077-ERW-JMB Doc. #: 6 Filed: 01/31/19 Page: 7 of 7 PageID #: 25
•

the Defendant herein, knowingly possessed and brandished a firearm, in furtherance of a crime

of violence for which they may be prosecuted in a court of the United States, that is, attempt to

obstruct, delay, or affect commerce by robbery as charged in Count Twelve herein.

       In violation of Title 18, United States Code, Sections 924(c)(l)(A), and punishable under

Title 18, United States Code, Section 924(c)(l)(C).


                                                             A TRUE BILL



                                                             FOREPERSON
JEFFREY B. JENSEN
United States Attorney



LINDA LANE, #0011451IA
Assistant United States Attorney
